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AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT

                                                I
                                                                 for the
                                                    Southern District of New York    i
Lucio Castro, on behalf of himself and others similarly            )
                      situated
                                                                   )
                                                                   )
                                                                   )
                            Plainr(!JM                             )
                                V.                                 )       Civil Action No. 24-CV-1893
Karena Foods Inc. d/b/a Mughlai lndlan Cuisine, KDEM               )
 Eats Inc. d/b/a Mughlai Indian Cuisine, Gary Tulsiani,            )
                 and Mahender Tulsiani                             )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                    SUMMONS IN A CIVIL ACTION
                                    Karena Foods Inc. c/o NY Secretary of State, One Commerce Plaza, 99 Washington
To: (Defe11dant ,s name and address)Avenue _ 6th Fl., Albany, NY 1
                                                                  2231;
                                    KDEM Eats Inc. c/o NY Secretary of State, One Commerce Plaza, 99 Washington
                                    Avenue - 6th Fl., Albany, NY 12231;
                                    Gary Tulsiani, 1724 Second Avenue, NY, NY 10128;
                                    Mahender Tulsiani, 255 W. 55th Street, NY, NY 10019.


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)-or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) �you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Cilenti & Cooper, PLLC
                                      60 East 42nd Street - 40th Floor
                                      New York, NY 10165




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                             CLERK OF COURT


Date:         3/14/2024                                                                      /S/ V. BRAHIMI
                                                                                         Sig11alure of Clerk or Deputy Clerk
